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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                           OXFORD DIVISION

  JOHN G. TURNER,        )
                         )
       Plaintiff,
                         )
  v.                     )
                         ) CIVIL ACTION NO.
  CONCOURS MOLD ALABAMA, ) 3:20-CV-165-MPM-RP
  INC. and MARK ROCKS,   )
       Defendants.       )
                         )
                         )

                   ORDER OF DISMISSAL WITH PREJUDICE

         Pursuant to the Joint Stipulation of Dismissal with Prejudice [Doc. 45] filed

in this case, it is hereby ORDERED that the cause be dismissed with prejudice and

the case CLOSED.

         This the 3rd day of January 2022.

                                          /s/Michael P. Mills
                                         UNITED STATES DISTRICT JUDGE
                                         NORTHERN DISTRICT OF MISSISSIPPI




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